18-11852-jlg    Doc 33     Filed 12/04/18     Entered 12/04/18 18:35:48         Main Document
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                                         1.AW OKFICES OF

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                                       FACSIMILE {212) 410-0400



                                                        December 4, 2018


 TO:        Attorneys for Debtor and Debtors                        Case Nos.

 FROM:      Robert L. Geltzer

 RE:        Michael Neil Schwartz                                   15-12746 (MKV)
            David Miller                                            17-10001 (SHL)
            Miguel Garcia                                           18-10229 (MG)
            Roland Wall and Maryam Wall                             18-11480 (MEW)
            Panos Papadopoulos Seretis                              18-11852 (JLG)
            Nkenge Scott                                            18-11927 (CGM)
            Michael Cacioppo Belantara                              18-12343 (SHL)
            Allen Rey                                               18-12809 (SMB)
            Ronald Thomas Seaborn                                   18-12812 (MKV)
            Miguel A. Suarez-Romero                                 18-12818 (JLG)
            Toribia Hernandez                                       18-13162 (SMB)
            Agnes R. Bonney                                         18-13179 (SHL)
            Rafael Cornelio Reyes                                   18-13181 (MEW)
            Joselyn Henriquez de Liriano                            18-13185 (MKV)

       BE ADVISED THAT THE ADJOURNED 341 MEETING PREVIOUSLY SET
FOR DECEMBER 18,2018 AT 9:00 A.M., IS CHANGED TO:

               FRIDAY. DECEMBER 21.2018 AT 9:00 A.M.


AT THE SAME VENUE, I.E., ONE BOWLING GREEN, 5TH FLOO




RLG:ayh

cc:    Linda A. Riffkin, Esq.
       Guy A. Van Baalen, Esq.
       ECF Clerk
